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Earl Moore
88 Ignacio Avenue

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San Franciscu, CA 94124 NOV '.l 0 2010 V

(4 )467»0`7_ 7 UNITED STATESBANKRUPTCYCOURT
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In Pro per

UNITED S'I`ATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFOR.NIA

EARL MOORE, Case No.: 16~30063 DM
Petitioner/Claimant,

VS.

f __` _K 1 di
YELLOW CAB COOPERATIVE INC., ‘*PROOF 02 %WZN \L‘.»\'£-_

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Debtor/Respondent

 

 

 

l the undersigned, declare that I reside in the City of San Francisco, Ceunty of San Francisco,
California. I am over the age of 18 and arn not a party to this action.
On November 30, 2018, the Opposilion the Trustees Objection to Claim via US Mail and

Elect_ronic Service to the foliowing:

U.S. Tl'uSlee Michelson Law Group
1301 Clay Street Randy Michelson
Oakland, CA 94612-5202 220 Montgomery Street, Suite 2100

San Franciseo, CA 94104

Dated this 30“" day of November 2018

OPPOSITION TO OBIECTION TO CLAIMS BY OWNERS; REQUES'I` FOR ADDITIONAL Tl]\/lE TO AMEND
CLAIMS AND SUBMIT BRIEF SUPPORTING OPPOSITION TO TRUSTEE’S OB]ECTION ~ 1

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